
Moore, J.
The indictment is sufficient • it charges that Henry Lowther is a married man. That he committed adultery with Imo Lowther. That Imo Lowther is the daughter of the accused. That Plenry Lowther and Imo Lowther each knew the relationship of father and daughter. These constitute all the elements of the crime of incest. To charge that Henry *524Lowther did commit adultery with Imo Lowther, by then and there having sexual, intercourse with her, is equivalent to charging that they did commit adultery and fornification together.
Alexander, and Darnell, for plaintiff in error.
J. Y. Todd, prosecuting attorney, for the state.
It is not essential in charging the crime of incest that the parties be jointly indicted, or that they be both indicted.
Before the revision, S. &amp; C. 405, the offence was not joint, the father alone being criminal under it. The revision does nothing more-than to make criminal the daughter as well. It does not, however, make the father’s conviction dependent upon the indictment of both.
Certain letters written by the accused while in jail and addressed to his wife were offered in evidence by the state and admitted over the objection and exception of the defendant.
These letters were found in the possession of a third person, who produced them in court. There is nothing to show but what he properly received them and no evidence that the wife ever had them. The only portion of the letters that could at all prejudice the defendant was addressed to his daughter Imo. We think these letters were properly admitted. (20 Kan. 599.)
The evidence fully supports the verdict of guilty.
Judgment affirmed.
